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 9 Attorneys for United States of America

10                                   UNITED STATES DISTRICT COURT

11                                 NORTHERN DISTRICT OF CALIFORNIA

12                                        SAN FRANCISCO DIVISION

13
     UNITED STATES OF AMERICA,                       ) CASE NO. 20-CR-00249 RS
14                                                   )
             Plaintiff,                              )
15                                                   ) ORDER EXCLUDING TIME
        v.                                           )
16                                                   )
     ROWLAND MARCUS ANDRADE,                         )
17                                                   )
             Defendant.                              )
18                                                   )

19

20           This matter came before the Court for a hearing regarding identification of counsel on September
21 3, 2021. Potential appointed counsel has been identified and is in the process of clearing conflicts. The

22 Court has set a status conference for September 13, 2021, at 10:30am, in order to give further time to

23 complete that process.

24           As discussed at the hearing, the Court orders that time be excluded under the Speedy Trial Act
25 from September 3, 2021, through September 13, 2021. Failure to exclude time would unreasonably

26 deny counsel for defendant, whomever that ends up being, the reasonable time necessary for effective

27 preparation, taking into account the exercise of due diligence. The Court further finds that the ends of

28 justice served by excluding the time from September 3, 2021 to September 13, 2021 from computation

     ORDER                                           1
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 1 under the Speedy Trial Act outweigh the best interests of the public and the defendant in a speedy trial.

 2 Therefore, and with the consent of the parties, IT IS HEREBY ORDERED that the time from September

 3 3, 2021 through September 13, 2021 shall be excluded from computation under the Speedy Trial Act. 18

 4 U.S.C. § 3161(h)(7)(A), (B)(iv).

 5

 6 DATED: September 3, 2021
                                                         HONORABLE SALLIE KIM
 7                                                       United States Magistrate Judge

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     ORDER                                           2
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